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13 Trial Attorneys
14 Counsel for Defendants
15
                        UNITED STATES DISTRICT COURT
16                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17                                (San Diego)

18 AL OTRO LADO, Inc., et al.,                   Case No. 3:17-cv-02366-BAS-KSC
19                      Plaintiffs,
                                                 Hon. Karen S. Crawford
20                        v.
21                                                DECLARATION OF KATHERINE J.
   KEVIN     K. McALEENAN,       1
                                   Acting  Secre- SHINNERS
22
   tary, U.S. Department of Homeland Secu-
23 rity, in his official capacity, et al.,
24                              Defendants
25
26
27
       1
28      Acting Secretary McAleenan is automatically substituted for former Secretary
       Nielsen pursuant to Federal Rule of Civil Procedure 25(d).
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1                  DECLARATION OF KATHERINE J. SHINNERS
2            I, Katherine J. Shinners, declare as follows:
3            1.     I am Senior Litigation Counsel in the District Court Section of
4      the U.S. Department of Justice’s Office of Immigration Litigation. I am an at-
5      torney for the federal Defendants in their official capacities in the case enti-
6      tled Al Otro Lado, Inc. v. McAleenan, No. 3:17-cv-02366-BAS-KSC, which
7      is currently pending in the U.S. District Court for the Southern District of
8      California. I submit this declaration in support of Defendants’ opposition to
9      Plaintiffs’ request to “compel limited classwide discovery.” These state-
10     ments are based upon my personal knowledge and my review of emails or
11     other correspondence.
12           2.     Attached hereto as Exhibit 1 is a true and correct copy of my
13     August 30, 2019 Declaration, previously submitted at ECF Docket No. 284-
14     2.
15           3.     Attached hereto as Exhibit 2 is a true and correct copy of the
16     Declaration of Elaine Dismuke dated May 24, 2019, previously submitted at
17     ECF Docket No. 263-8.
18           4.     Attached hereto as Exhibit 3 is a true and correct copy of the
19     Declaration of Randy Howe dated May 24, 2019, previously submitted at
20     ECF Docket No. 263-9.
21           5.     On July 15, 2019, via email, while Plaintiffs’ initial joint motion
22     for determination of the instant discovery dispute was pending (see ECF Dkt.
23     No. 263), Plaintiffs’ counsel stated that they were “willing to limit the scope
24     of custodians outside of the San Ysidro, Otay Mesa, Hidalgo, and Laredo
25     ports of entry,” and proposed four field custodians and one headquarters cus-
26     todian to add to the agreed-upon custodian list.
27
28

                                                                         SHINNERS DECLARATION
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1            6.     On July 15, 2019, Defendants responded by email, stating: “The
2      Court stated that this dispute is still pending before the Court and that De-
3      fendants already have ‘enough on their plate.’ Is this a narrowed proposal to
4      be considered after Judge Crawford rules on that pending motion? If so,
5      while Defendants appreciate the narrowed proposal, the parties previously
6      agreed that they would negotiate your proposed custodians after such a rul-
7      ing, because Defendants may then need to pull back on collection from other
8      custodians in order to maintain feasible parameters for document review.”
9            7.     On July 26, 2019, Defendants reiterated this statement and fur-
10     ther explained:
11           Given that the parties’ dispute is still pending before Judge Crawford,
12           and that Judge Crawford stated at the July 12 Status Conference that
             Defendants already have “enough on their plate,” Defendants will not
13           agree at this time to add five more custodians. There is a substantial
14           burden imposed by seeking documents from additional custodians, and
             Defendants maintain that a search for documents from other ports of
15           entry or field offices is not legally proper at this stage. Nor is it clear
16           why Plaintiffs are seeking to add another headquarters official at this
             stage of negotiations. Further, Defendants chose their current custodi-
17           ans based on their investigation into which individuals were most
18           likely to possess responsive documents. Thus, even if Defendants
             were to agree to expanded discovery, Defendants would need to con-
19
             duct the same investigation as to each Port/Field Office from which
20           Plaintiffs seek to obtain discovery as they have with the agreed upon
21           Ports/Field Offices; Defendants have not yet evaluated whether Plain-
             tiffs’ chosen custodians would be proper custodians and to do so would
22           divert already limited resources.
23
             8.     After the Court denied the prior joint motion without prejudice,
24
       the parties met and conferred via telephone on August 12, 2019, concerning
25
       discovery disputes arising from Defendants’ responses to Plaintiffs’ First and
26
       Second Sets of Requests for Production.
27
             9.     In an August 22, 2019 letter, in response to the discussions at the
28
       August 12, 2019 meet-and-confer and to further narrow the areas of dispute,

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1      Defendants agreed to conduct a limited collection from one of Plaintiffs’ pro-
2      posed additional custodians, Jud Murdock, for the period of October 1, 2018,
3      through December 31, 2018. Defendants also agreed to add one search term
4      to the parameters of their current search for documents responsive to Plain-
5      tiffs’ First, Second, and Third Sets of RFPs.
6            10.      On August 15, 2019, Defendants sent Plaintiffs a proposal stat-
7      ing that they agreed to collect data from Customs and Border Protection’s
8      Consolidated Secondary Inspection System in response to Plaintiffs’ Third
9      Set of RFPs.
10           I declare under penalty of perjury that the foregoing is true and correct
11     to the best of my knowledge. This declaration was executed on September 5,
12     2019, in Washington, D.C.
13
14                                             /s/ Katherine J. Shinners
                                               KATHERINE J. SHINNERS
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                                                                       SHINNERS DECLARATION
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                             Exhibit 1
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15 Counsel for Defendants
16
17                    UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
18                              (San Diego)
19
     AL OTRO LADO, Inc., et al.,                Case No. 3:17-cv-02366-BAS-KSC
20                           Plaintiffs,
21                                              Hon. Karen S. Crawford

22                      v.
                                                DECLARATION OF KATHERINE J.
23 KEVIN K. McALEENAN,1 Acting Secre-           SHINNERS
24 tary, U.S. Department of Homeland Secu-
   rity, in his official capacity, et al.,
25
                                Defendants
26
27
     1
28    Acting Secretary McAleenan is automatically substituted for former Secretary
     Nielsen pursuant to Federal Rule of Civil Procedure 25(d).
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1                   DECLARATION OF KATHERINE J. SHINNERS
2          I, Katherine J. Shinners, declare as follows:
3          1.     I am Senior Litigation Counsel in the District Court Section of the U.S.
4    Department of Justice’s Office of Immigration Litigation. I am an attorney for the
5    federal Defendants in their official capacities in the case entitled Al Otro Lado, Inc.
6    v. McAleenan, No. 3:17-cv-02366-BAS-KSC, which is currently pending in the U.S.
7    District Court for the Southern District of California. I submit this declaration in
8    support of Defendants’ portion of the joint motion regarding Plaintiffs’ request to set
9    certain deadlines for production of documents. These statements are based upon my
10   personal knowledge, my review of Defendants’ document productions, my review of
11   Defendants’ document review platform, my review of emails, letters, and other cor-
12   respondence, and, where specifically noted, discussions with colleagues at the De-
13   partment of Justice (DOJ) or with employees of U.S. Customs and Border Protection
14   (CBP) or the Department of Homeland Security’s Office of the Inspector General
15   (OIG).
16         2.     Attached hereto as Exhibit 1 is a true and correct copy of Defendants’
17   Active Learning Protocol, dated July 11, 2019.
18         3.     Attached hereto as Exhibit 2 is a true and correct copy of the Declara-
19   tion of Scott Falk, Chief Counsel for CBP.
20         4.     Attached hereto as Exhibit 3 is a true and correct copy of the Declara-
21   tion of Gisela Westwater, previously submitted at ECF Docket No. 268-2.
22         Negotiating the Scope of Discovery in Response to Plaintiffs’ First and Sec-
23         ond Sets of Requests for Production

24         5.     Defendants served their first amended and supplemented objections and
25   responses to Plaintiffs’ First Set of RFPs (Nos. 1–25) on April 9, 2019, at 10:04 PM
26   (Pacific), and their objections and responses to Plaintiffs’ Second Set of RFPs (Nos.
27   26–109) on April 9, 2019, at 8:51 PM (Pacific).
28

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1          6.     On April 23, 2019, pursuant to Section II of the parties’ proposed ESI
2    Protocol, Defendants served Plaintiffs with a list of custodians and non-custodial
3    sources from which Defendants proposed collecting documents in response to Plain-
4    tiffs’ 109 requests in their First and Second RFPs. Defendants identified 10 custodi-
5    ans, including the Director of Field Operations, San Diego Field Office, Office of
6    Field Operations; the Acting Port Director, Hidalgo Port of Entry (Sept. 2018–Oct.
7    2018), Laredo Field Office, Office of Field Operations; the Acting Port Director, Hi-
8    dalgo Port of Entry (Oct. 2018–Apr. 2019), Laredo Field Office, Office of Field Op-
9    erations; the Executive Director, Admissibility and Passenger Programs, Office of
10   Field Operations; the Executive Director, Operations, Office of Field Operations; the
11   Director, Enforcement Programs Division, Admissibility and Passenger Programs,
12   Office of Field Operations; a Watch Commander from the San Ysidro Port of Entry,
13   San Diego Field Office, Office of Field Operations; and the Assistant Director, In-
14   take and Analysis, Office of Professional Responsibility, Investigative Operations
15   Division. Defendants also identified four non-custodial sources, including a shared
16   drive from CBP’s Office of Training and Development containing training materials;
17   a sharepoint site from the Office of Field Operations containing post-academy train-
18   ing materials; a sharepoint site from the Office of Field Operations containing
19   OFO’s policy database; and a sharepoint site from the Office of Field Operations,
20   Admissibility and Passenger Programs, Enforcement Programs Division containing
21   the Enforcement Programs Division’s policy database.
22         7.     In an April 29, 2019 letter, Plaintiffs agreed to the custodians and non-
23   custodial sources Defendants had proposed on April 23, but stated their belief that
24   the list was “incomplete.” Plaintiffs proposed adding 24 additional individual custo-
25   dians, including individuals from more than a dozen more ports of entry along the
26   U.S-Mexico border. Plaintiffs also proposed adding at least four more non-custodial
27   sources.
28

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1          8.     Defendants responded to Plaintiffs’ proposal via letter on May 6, 2019.
2    Defendants stated: “As stated during the parties’ conference, Defendants initial list
3    of custodians included individuals who Defendants determined after an initial inves-
4    tigation were most likely to possess responsive information related to the four Ports
5    of Entry relevant to the allegations of the Named Plaintiffs (Hidalgo, Laredo, Otay
6    Mesa, and San Ysidro). This list included key individuals from the Office of Field
7    Operations (OFO) and the relevant Field Offices and/or Ports of Entry. Accordingly,
8    Defendants maintain that their initial list of custodians and non-custodial sources is
9    sufficiently comprehensive to conduct a reasonable and proportional search. Plain-
10   tiffs’ proposal to add 24 additional individual custodians, in particular, far exceeds
11   what is proportional to the needs of the case.” Defendants nevertheless agreed to add
12   four additional custodians, including the Assistant Director, Field Operations, La-
13   redo Field Office (retired Sept. 2018), Office of Field Operations; the Executive As-
14   sistant Commissioner, Office of Field Operations; the Port Director of the San
15   Ysidro Port of Entry and of Passenger Operations at the Otay Mesa Port of Entry,
16   San Diego Field Office, Office of Field Operations; and the Port Director, Hidalgo
17   Port of Entry, Laredo Field Office, Office of Field Operations, for a total of 14 cus-
18   todians. Defendants also agreed to add four additional non-custodial sources, includ-
19   ing one source from CBP’s Human Resources Management division and three
20   sources from DHS’s Office of Inspector General, for a total of eight non-custodial
21   sources.
22         9.     Defendants sent Plaintiffs a letter on May 20, 2019, disclosing their list
23   of 176 proposed search terms and an explanation of how Defendants intended collect
24   documents from their 22 data sources (including whether and how search terms
25   would be applied to those data sources). Defendants stated in that letter:
26         Defendants request that the parties meet and confer regarding these
27         search terms on Monday, June 3. Defendants thus intend to provide a
           Hit Report on or before Friday, May 24, 2019, which will be based on
28         a sample from certain of these designated data sources to generate a

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1          Hit Report as defined in the [ESI] Protocol. That sample includes
2          emails from six custodians dating from January 1, 2016 through ap-
           proximately February 2019. These custodians are those six custodians
3          identified in Defendants’ initial targeted discovery proposal described
4          in the Parties’ Supplemental Joint Discovery Plan (ECF No. 243), at
           pages 16-17: Pete R. Flores; David P. Higgerson; Alberto A. Flores;
5          David John Gonzalez; Todd A. Hoffman; and Mariza Marin.
6
           10.    On May 24, 2019, Defendants sent Plaintiffs, via email, a hit report
7
     contained in two Microsoft Excel spreadsheets (broken apart due to the number of
8
     search terms) of Defendants’ proposed search terms as applied to the document sam-
9
     ple containing the emails of six of Defendants’ custodians.
10
           11.    On May 29, 2019, Plaintiffs sent Defendants, via email, a counter-pro-
11
     posal of 226 separate search terms. Plaintiffs proposed adding new search terms and
12
     significantly expanding 104 of the existing search terms.
13
           12.    On June 6, 2019, the parties met and conferred regarding Plaintiffs’
14
     proposed search terms. Defendants explained at the conference that they could not
15
     accept many of Plaintiffs’ proposed terms because they substantially increased the
16
     volume for review with little to no benefit to the discovery of relevant material.
17
     However, Defendants’ counsel stated that Defendants would analyze whether they
18
     could further modify Plaintiffs’ proposed terms in an effort to reach agreement.
19
           13.    On June 10, 2019, Plaintiffs sent Defendants, via email, an excel
20
     spreadsheet to use to track the parties’ negotiations over search terms.
21
           14.    On June 11, 2019, the parties met and conferred by telephone regarding
22
     various discovery-related issues. At that conference, Plaintiffs advised that they an-
23
     ticipated proposing additional search terms should the Court rule in their favor on
24
     certain pending discovery disputes. Due to the volume of documents involved, and
25
     given that the time and cost of processing documents increases with volume, De-
26
     fendants’ counsel had been waiting to reach agreement on search terms before be-
27
     ginning the process of exporting the majority of documents to be uploaded onto the
28
     review platform. At this point, however, Defendants determined not to wait for

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1    search terms to be finalized to proceed with processing, exporting, and uploading
2    large volumes of documents to the review platform, and to apply search terms after
3    those documents had been uploaded to the review platform. Defendants also began
4    considering using Relativity’s “Active Learning” tool, a form of technology-assisted
5    review, to assist with responsiveness review.
6          15.    On June 14, 2019, after conducting additional testing and analysis, De-
7    fendants provided Plaintiffs with their response to Plaintiffs’ May 29, 2019 search-
8    term proposal. Defendants accepted 49 of Plaintiffs’ proposed search terms, and
9    made counter-proposals on many others.
10         16.    On June 17, 2019, Plaintiffs provided Defendants with another counter-
11   proposal that again proposed additional modifications to numerous terms. Before
12   Defendants could assess whether to accept those terms as modified, they needed to
13   analyze them and run volume/hit reports for those terms to determine whether they
14   could accept them. Due to the complexity of the searches, the volume of documents
15   to be searched, and competing priorities, obtaining those volume reports took time.
16         17.    On June 25, 2019, Defendants provided Plaintiffs with their response to
17   Plaintiffs’ June 17 proposal. Defendants accepted 19 of Plaintiffs’ proposed terms
18   and made counter-proposals on several others. Further, as a result of a meet-and-
19   confer between the parties that same day, Defendants agreed to further analyze and
20   consider two of Plaintiffs’ proposed search terms.
21         18.    On July 15, 2019, Plaintiffs provided Defendants with their response to
22   Defendants’ proposals, which rejected most of Defendants’ proposals.
23         19.    After conducting further analysis of Plaintiffs’ proposed search terms,
24   Defendants responded to Plaintiffs’ July 15, 2019 proposal by email dated July 30,
25   2019, accepting the majority of Plaintiffs’ proposals, with the caveat that Defendants
26   reserve the right to revisit their agreement on those terms should Defendants be una-
27   ble to proceed with their Active Learning protocol, as described further below and
28   attached hereto as Exhibit 1.

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1          20.    The parties ultimately agreed on 202 search terms on July 31, 2019. I
2    used the search term reporting tool in the DOJ Civil Division review platform in
3    Relativity 9.6, to apply these agreed search terms to the emails of 8 custodians that
4    have been uploaded to that review platform (constituting 2,470,121 total documents,
5    counting emails and attachments). The application returns approximately 22% of
6    the total documents, including family members (constituting 536,639 total docu-
7    ments).
8          21.    At a July 25, 2019 conference regarding Defendants’ responses to
9    Plaintiffs Third Set of Requests for Production of Documents (which Defendants
10   served on July 15, 2019), Plaintiffs stated that they may seek to add search terms
11   based on their Third Set of Requests.
12         Defendants’ Document Collection, Processing, and Review
13
           22.    According to information provided to me by Elaine Dismuke, eDiscov-
14
     ery Team Lead, Security Operations Division, Cyber Security Directorate, Office of
15
     Information and Technology, Enterprise Services, CBP, CBP has collected emails
16
     from the 14 agreed-upon custodians for the time period beginning January 1, 2016.
17
     The number of email messages collected from each custodian are as follows:
18
                                               Volume (Email mes-
19                    Custodian/Source         sage count)
20                    Sidney Aki                           273,977
21                    Frank S. Longoria                      79,789
                      Carlos Rodrigues                     839,367
22                    Todd Owen                            265,358
23                    Andres Guerra                        170,180
                      Luis Mejia                           186,260
24
                      Randy Howe                           330,451
25                    Bryan Molnar                           35,646
26                    David John Gonzalez                    70,170
                      David Higgerson                        95,817
27                    Alberto Flores                       153,215
28                    Pete Romero Flores                   156,575

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1                      Mariza Marin                           172,173
2                      Todd Hoffman                            85,034
                       TOTAL                                2,914,012
3
4
     Ms. Dismuke informed me that the message count reflects the number of email mes-
5
     sages, and does not count each family member/item attached to the email message.
6
     On August 22, 2019, Defendants told Plaintiffs via letter: “Defendants have
7
     already collected almost 3 million email messages from the 14 agreed-upon custodi-
8
     ans. This figure counts email families and thus does not reflect the individual
9
     item/document count, which is much higher.”
10
           23. Defendants are using DOJ Civil Division’s Relativity 9.6 review plat-
11
     form (“review platform”) to review and, if necessary, redact documents for produc-
12
     tion.
13
             24.   Based on my knowledge and review of the workspace in the review
14
     platform, the emails from the following eight custodians for the full time range have
15
     been uploaded to the review platform: Todd Hoffman, Randy Howe, Bryan Molnar,
16
     David John Gonzalez, Andres Guerra, Pete Romero Flores, Alberto Flores, and Luis
17
     Mejia. Additionally, emails from custodians Maria Marin and David Higgerson da-
18
     ting from April 1 to April 30, 2018, have also been uploaded for review. After ap-
19
     plication of search terms, the total number of documents from these sources that are
20
     subject to responsiveness review is 536,639.
21
             25.   Based on my conversations with colleagues at DOJ, individuals on
22
     CBP’s e-discovery team, and individuals at DHS OIG, I understand that emails from
23
     the following custodians and documents from the following non-custodial sources
24
     are currently being processed for uploading to the review platform: Sidney Aki; Car-
25
     los Rodrigues; Mariza Marin; Todd Owen; Frank S. Longoria; CBP’s Human Re-
26
     sources Business Engine; DHS OIG’s Shared Drive; and DHS OIG’s Enterprise
27
     Data System.
28

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1         Defendants’ Use of Active Learning to Assist with Responsiveness Review
2          26. As noted above, in June 2019, Defendants began considering using Rel-
3    ativity’s Active Learning tool to assist with responsiveness review of CBP docu-
4    ments.
5          27. Defendants advised Plaintiffs via email on July 2, 2019, that they intend
6    “to use Active Learning to assist in responsiveness review of a subset of the ESI af-
7    ter application of search terms. In accordance with the agreed-upon terms of the
8    ESI Protocol, we will disclose Defendants’ Active Learning protocol. We antici-
9    pate being able to provide the Active Learning Protocol next week.”
10         28. Defendants further discussed with Plaintiffs their planned use of Active
11   Learning at a July 10, 2019 telephone conference.
12         29. On July 11, 2019, Defendants provided their Active Learning Protocol
13   (attached hereto as Exhibit 1) to Plaintiffs via email.
14         30. Defendants provided additional information about Defendants’ use of
15   Active Learning to Plaintiffs via email on July 19 and August 9, 2019, and at a tele-
16   phone conference on July 22, 2019.
17         31. As explained in the Active Learning Protocol attached as Exhibit 1
18   hereto, in Active Learning, knowledgeable individuals (“Subject Matter Experts”)
19   manually code documents for responsiveness to train the Active Learning tool.
20   There are currently six Subject Matter Experts from CBP reviewing documents for
21   responsiveness to train the Active Learning tool.
22         32. As also explained in the Active Learning Protocol, documents that are
23   manually coded as responsive or that are ranked as highly relevant by Active Learn-
24   ing are being released for privilege and confidentiality review. Defendants are cur-
25   rently prioritizing privilege and confidentiality review of documents from custodi-
26   ans Todd Hoffman and Randy Howe.
27         Defendants’ Document Productions
28         33. On March 29, April 18, April 19, April 23, April 29, and May 14, 2019,

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1    Defendants produced approximately 200 pages of organizational charts, at
2
     CBPALOTRO00000150 to CBPALOTRO00000298; CBPALOTRO00000300 to
3
     CBPALOTRO00000302; and DHSALOTRO00000054 to
4
     DHSALOTRO00000092.
5
           34.   On April 29, 2019, Defendants produced CBP’s April 2018 guidance
6
     regarding metering or queue management, at CBP-ALOTRO00000299.
7
8          35. The parties then agreed that Defendants will make rolling productions

9    at least every four weeks, beginning on July 3, 2019.

10         36.   On July 3, 2019, Defendants produced non-confidential documents, in-
11   cluding records retention schedules, congressional testimony, and budget docu-
12   ments, at AOL-DEF-00000001 to AOL-DEF-00004217.
13         37. On July 8, 2019, Defendants produced the A files for the individual
14   Plaintiffs, at AOL-DEF-00004218 to AOL-DEF-00005290 and
15   DHSALOTRO00000093 to DHSALOTRO00001766.
16
           38. On July 12, 2019, Defendants produced various non-confidential docu-
17
     ments, including records retention schedules, at AOL-DEF-00005291 to AOL-
18
     DEF-00010190.
19
           39.   On July 31, 2019, Defendants produced emails from various custodians
20
     from April 2018, at AOL-DEF-00010191 to AOL-DEF-000101894.
21
22         40.   On August 16, 2019, Defendants produced emails from various custodi-

23   ans from April 2018, at AOL-DEF-00010895 to AOL-DEF-00011999.

24         41. On August 28, Defendants produced emails from custodian Todd Hoff-

25   man spanning the relevant time period, at AOL-DEF-00012000 to AOL-DEF-

26   00013947.

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28

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1            The Parties’ Correspondence and Conferences Related to the Defendants’
2            Document Production Schedule

3            42. On Friday, June 28, 2019, Plaintiffs sent an email to Defendants asking
4    among other things: “When does the government anticipate that its production of
5    documents in response to Plaintiffs’ First and Second Sets of Requests for Produc-
6    tion will be complete?”
7            43. On Tuesday, July 2, 2019, Defendants stated in response to Plaintiffs’
8    counsel:
9            With respect to your questions regarding an end date for document
10           production, we did previously give you an end date: January 31,
             2020. As discussed at our meet and confer on June 11, 2019, this is
11           the date Defendants set forth in the Parties’ Joint 26(f) Report (ECF
12           No. 243). Defendants’ responses to Plaintiffs’ Document Requests
             contemplate that Defendants’ search for documents will be based on
13           the parameters of a negotiated search. Thus, we did not give a differ-
14           ent end date in those responses, because the parties have not yet
             agreed upon those parameters and several disputes are pending before
15
             the Court. But we did advise Plaintiffs’ counsel on June 11, 2019,
16           that we are maintaining the January 31, 2020 deadline set forth in the
17           Parties’ Joint 26(f) until we are able to provide a more refined dead-
             line.
18
19           44. In that same email, Defendants also advised Plaintiffs’ counsel of the
20   delay Defendants were experiencing in preparing and processing documents for re-
21   view:
22           Because of the volume of ESI (660,000 email messages from the first
             six CBP custodians), the process of preparing and processing docu-
23           ments for review has taken longer than anticipated. We had hoped to
24           save processing time and cost by applying search terms to those
             emails before preparing them for review, but we were not able to be-
25
             cause the parties’ negotiations on search terms are ongoing, and be-
26           cause Plaintiffs indicated at our June 11, 2019 meet and confer that
27           they will have additional search strings to propose should outstanding
             discovery disputes be resolved in their favor. Accordingly, due to the
28

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1         volume of emails, processing these documents for review is time-con-
2         suming and is being done on a rolling basis, beginning with those first
          six custodians.
3
           45. Defendants further advised Plaintiffs in that July 2, 2019, email that
4
     they were intending “to use Active Learning to assist in responsiveness review of a
5
     subset of the ESI after application of search terms. In accordance with the agreed-
6
     upon terms of the ESI Protocol, we will disclose Defendants’ Active Learning pro-
7
     tocol. We anticipate being able to provide the Active Learning Protocol next
8
     week.”
9
           46. Plaintiffs stated in an email dated July 2, 2019, 11:35 p.m. (ET) that
10
     “we appear to be at an impasse regarding the timeline for the Government’s docu-
11
     ment production. … Particularly since the Government intends to use both search
12
     terms and active learning, the Government should be able to complete its produc-
13
     tion of document[s] much earlier than January 31, 2020. Instead, the Government
14
     should complete its production of documents by October 1, 2019.” Plaintiffs went
15
     on to state: “Because it appears we are at an impasse on this issue, we propose …
16
     the Government and Plaintiffs meet and confer tomorrow by telephone regarding
17
     this matter … .”
18
           47. Defendants responded in an email dated July 3, 2019, in which Defend-
19
     ants agreed to have “at least an initial meet and confer” that same day, and further
20
     stated “it seems to us that the parties may be able to reach some middle ground on
21
     issues relating to document production. We have given you the January 31, 2020
22
     end date, but we have also stated that we hope to provide a refined end date as we
23
     understand more about the volume.” Defendants stated in another response email
24
     that same date that they “are not proposing prioritization as a ‘smoke screen’ to de-
25
     lay production of documents – we are offering to work with Plaintiffs to at least try
26
     to prioritize certain sources or documents, all in the context of moving forward with
27
     the collection of the agreed-upon documents from agreed-upon sources.”
28

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1          48. At the July 3 conference, Plaintiffs explained the relief they planned to
2    seek, including that the deadline they sought was for “substantial completion” of
3    document production and would not include the time needed to prepare the privi-
4    lege log.
5          49. At the July 3 conference, Defendants explained that they could not stip-
6    ulate to the October 1, 2019 deadline because, based on the projected volume of
7    ESI and their resources, they did not believe they could meet that deadline. De-
8    fendants also asked if there were sources or categories of documents that Plaintiffs
9    propose for prioritization such that the parties could perhaps negotiate other produc-
10   tion benchmarks that the parties could agree to. Plaintiffs responded that they be-
11   lieved Defendants were in a better position to propose prioritization methods.
12         50. On July 9, 2019, Defendants informed Plaintiffs that they “may rely on
13   [substantive] declarations to support their opposition to Plaintiffs’ motion to set a
14   deadline of October 1, 2019” and that they “anticipate that if Defendants submit
15   declarations those declarations will relate to the facts we have discussed or set forth
16   at many points regarding the government’s constraints.” On July 10, 2019, the par-
17   ties had an additional telephonic conference regarding the factual bases for Defend-
18   ants’ opposition to Plaintiffs’ request for an October 1, 2019 deadline. At that con-
19   ference, Defendants further explained the delays they were experiencing regarding
20   the processing of documents to export and upload those documents to the review
21   platform. Defendants again invited Plaintiffs to identify particular custodians for
22   prioritization. Defendants also explained, among other things, that their opposition
23   to a motion to set a deadline for substantial completion of document production
24   may be based on the competing demands on CBP and DOJ attorneys’ time and the
25   time needed to conduct privilege and confidentiality review.
26         51. On July 10, 2019, Plaintiffs sent Defendants their portion of a joint mo-
27   tion to set an October 1 Deadline for completion of document production.
28

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1          52. On July 15, 2019, Plaintiffs sent Defendants an email proposing that the
2    parties agree to an October 1 Deadline for completion of document production.
3          53. On July 19, 2019, Defendants responded via email as follows:
4         Defendants’ alternate proposed date for substantial completion of doc-
5         ument production in response to the First and Second RFPs, based on
          the currently agreed-upon custodians and search terms, is December
6         20, 2019. This is an estimate of the time needed for completion based
7         on the information we have at this time, and accounting for the sub-
          stantial volume of documents that Defendants are collecting and re-
8         viewing from 22 different custodians and non-custodial sources from
9         two different components. As you know, we currently estimate that at
          least half a million documents will be subject to review after the ap-
10        plication of the currently agreed-upon search terms. We do not yet
11        know if that figure is accurate, nor do we yet know the general re-
          sponsiveness rate for that collection, which will greatly influence the
12
          amount of time needed for privilege and confidentiality review.
13
14         54. On July 22, 2019, the parties conferred regarding Defendants’ Active
15   Learning protocol. At that conference, the parties discussed the parties’ ongoing
16   negotiations regarding Defendants’ document production schedule. Defendants
17   suggested that the parties could potentially agree to certain phased production dead-
18   lines, but explained that it would be very difficult for Defendants to agree to partic-
19   ular deadlines for documents that are subject to Active Learning.
20         55. On July 26, 2019, Defendants proposed the following phased produc-
21   tion schedule:
22        As we discussed, although Defendants’ best estimate for substantial
          complete of document production from the currently agreed-upon
23        sources and using currently agreed-upon search terms remains De-
24        cember 20, 2019, Defendants offered to come up with a phased sched-
          ule for completion of production from particular sources at earlier
25        dates. Accordingly, Defendants propose as follows:
26        a.     Defendants would substantially complete production of respon-
          sive, non-privileged case files from HRBE and EDS on or before Sep-
27
          tember 25, 2019.
28

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1         b.     Defendants would substantially complete production of respon-
2         sive, non-privileged documents from CBP non-custodial sources 1-4
          (see attached letter) on or before October 23, 2019.
3         c.     Defendants would substantially complete production of respon-
4         sive, non-privileged documents from DHS OIG Shared Drive on or
          before November 20, 2019.
5         d.     Defendants’ review and production from other sources would
6         continue on a rolling basis on the previously-agreed four-week inter-
          vals, with substantial completion of document production from all
7         agreed-upon sources by December 20, 2019.
8         Of course, any efforts devoted to review and production from one
          source will necessarily divert resources from review of other sources,
9
          but Defendants wanted to offer these interim deadlines to try to find
10        some area of agreement and to provide more certainty to Plaintiffs as
11        to when production from particular sources could be completed.
12         56. On July 30, 2019, Plaintiffs sent a counter-proposal to Defendants via
13   email. That counter-proposal included, among other things, a proposal that “De-
14   fendants shall substantially complete production of responsive, non-privileged doc-
15   uments from Randy Howe, Todd Hoffman, Todd Owen, Carlos Rodrigues, and Sid-
16   ney Aki on or before September 6, 2019.”
17         57. On August 2, 2019, Defendants responded by email, stating that:
18        Defendants cannot agree to this [September 6] deadline. Among other
19        reasons already discussed, we are still in the process of collecting
          and/or uploading emails from some of these custodians. More im-
20        portantly, while we can seek to prioritize review of these custodial
21        sources over others once they are uploaded to the review platform, we
          cannot agree that we will “substantially complete” production from
22
          any custodians by September 6 (or any date before December 20,
23        2019), because their data is part of Active Learning review, and we do
24        not yet know when training of the program will be complete, nor do
          we know the volume of documents for privilege and confidentiality
25        review (which, as discussed at our July 10 conference and at various
26        other points, takes substantial time to complete, in part due to the
          prevalence of privilege issues for law enforcement agencies and the
27        fact that we often need to extensively consult with clients or third par-
28        ties).

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1
2            58. On August 15, 2019, as the parties continued to negotiate other dead-

3    lines, Defendants again advised Plaintiffs via email that they were unable to agree

4    to a September deadline for the emails from Randy Howe, Todd Hoffman, Todd

5    Owen, Carlos Rodrigues, and Sidney Aki. Defendants stated: “Defendants already

6    set forth the practical reasons they are unable to agree to this deadline. Defendants

7    can prioritize privilege and confidentiality review of documents from these custodi-

8    ans over other documents from other custodians, however.”

9            59. Plaintiffs served their portion of a “Joint Motion to Compel Govern-

10   ment’s Timely Production of Documents” at 10:21 p.m. ET on Monday, August 19,

11   2019.

12           I declare under penalty of perjury that the foregoing is true and correct to the

13   best of my knowledge. This declaration was executed on August 30, 2019, in Wash-

14   ington, D.C.

15
                                              /s/ Katherine J. Shinners
16                                            KATHERINE J. SHINNERS
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          Defendants’
           Exhibit 5
            Declaration of Elaine Dismuke
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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA


  Al Otro Lado, et al.,                 )
         Plaintiffs,                    )
                                        )
                                        )
  v.                                    )                     No. 3:17-cv-02366-BAS-KSC
                                        )
  Kevin McAleenan, et al.,              )
        Defendants.                     )
                                        )


                             DECLARATION OF ELAINE DISMUKE

          I, Elaine Dismuke, pursuant to 28 U.S.C. § 1746, and based upon my personal knowledge

  and information made known to me from official records and reasonably relied upon in the

  course of my employment, hereby declare as follows, relating to the above-captioned matter:

  1.   I am currently the eDiscovery Team Lead, Security Operations Division, Cyber Security

       Directorate, Office of Information and Technology, Enterprise Services, U.S. Customs and

       Border Protection (“CBP”). I have held this position since January 2011. I graduated from

       the University of Maryland in 1973 with a BS in Biology and was ITIL certified in 2006.

       My specialized training includes, but is not limited to: CISA Training in 2016, Clearwell

       Admin Training in 2014, Exchange 2007 Server Training in 2009, Exchange 2003 Server

       training in 2007, ITIL Foundations, Version 3 in 2008, Implementing and Managing MS

       Server with Exchange Server in 2003, Basic Outlook/Exchange Support in 2006, Lotus 6

       Administration – Server and User Support Training in 2005, Lotus R5 training in 2005,

       Cc:Mail Administration and User Support in 1998 and Softswitch –mainframe training in

       1998.



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  2.   The OIT eDiscovery team is responsible for, among other things, conducting centralized

       searches of email for CBP and its subcomponents. I manage a team of 5 individuals, and

       currently have 104 open, active cases.

  3.   I am familiar with the case of Al Otro Lado v. McAleenan, as it is one of my current open

       cases. My team has collected the emails from six custodians that form the basis for the

       search term analysis and hit report that I understand will be provided to Plaintiffs.

  General eDiscovery Process and Resource Constraints

  4.   As an initial matter, CBP does not have the tools in place to easily conduct an agency-wide

       search of employee emails. CBP emails are currently archived by a third-party contractor.

       The contractor maintains these emails on a series of “journal” servers, which keep a copy of

       every email sent or received by any CBP employee in chronological order. Thus, in order to

       search the emails of a particular individual, those emails must first be collected and stored

       on a server. These servers are then searchable by time period, custodian, and keyword, but

       not by mailbox. Thus, to search for emails from a particular custodian for a particular

       keyword for a particular year, the servers must crawl through all CBP emails for that entire

       year—a massive amount of data. CBP generates approximately 1.5 Million messages a day,

       which amounts to about 110 terabytes of email data per year. Accordingly, a single

       custodian/keyword search for even the approximately three and a half-year period from

       January 2016 to the present would require the journal servers to crawl through about 350

       terabytes of data.

  5.   These estimates do not take into account the fact that CBP is in the process of migrating off

       of Email as a Service (journaled email) to Office 365. Thus, emails are being migrated into

       this system, and any searches for emails must include both Office 365 and non-Office 365

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       searches. In order to collect emails from a particular custodian, my team therefore must

       essentially run two searches – one over the journaled emails, and another over the Office

       365 server. While these searches can be run concurrently, downloading the messages from

       Office 365 can take several hours. This therefore increases the time for running a particular

       search.

  6.   Searches are generally conducted on a platform called Discovery Accelerator, which is a

       tool to run the searches and then store exported data. Data is generally stored for

       approximately 45 days. While searches in Discovery Accelerator generally take between six

       and eight hours to run per custodian/keyword, the speed of the searches depends on many

       factors, such as network connectivity/bandwidth, the amount of traffic on CBP’s email

       services, and the complexity of the underlying searches. The more complicated the search,

       the longer it takes to process the request, with a real possibility of network connectivity

       issues.

  7.   While Discovery Accelerator can perform basic keyword searches, the tool is not able to

       conduct more advanced searches (such as proximity searches). Therefore, in order to

       perform more advanced searches, email and other ESI is generally uploaded into Clearwell,

       which is an eDiscovery Tool that can process data through the entire EDRM (Electronic

       Discovery Reference Model) process. In other words, Clearwell can be used to identify,

       collect, process, analyze, review and produce data in one of several formats. Cases in

       Clearwell must generally be available and able to be actively accessed for 2-5 years. In

       order for data to be uploaded to Clearwell, it must first be moved to a data server. The data

       server has a limited amount of space, and currently only has about 485 GIGS of space

       available, which is not enough space to process the volume of searches that CBP requires for



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       discovery. Thus, for searches that are time-sensitive or critical, CBP must move data off the

       server to make room for new searches. Any increase in the size of a particular case, or any

       increase in the complexity of a particular search, will thus further exacerbate these resource

       constraints, or would force CBP to purchase additional space. The total cost to obtain an

       additional 600 terabytes (TB) of storage space would be $468,000 (which includes the

       server and maintenance). CBP could also purchase an additional 40 TB data server at a cost

       of approximately $10,000. However, given the volume of searches and the number of open

       cases, I estimate that this amount of storage would only be sufficient to process another 3 to

       4 months’ worth of data.

  8.   Clearwell is capable of running both basic (e.g., keyword) searches and advanced (e.g.,

       proximity, nested proximity, and wildcard) searches. Once the search terms have been

       applied and run over ESI in Clearwell, the information can be processed and analyzed. This

       process also takes time and resources, as a member of my team needs to run the terms,

       analyze the results, and then ensure the results make their way into the appropriate folders

       for analysis. Depending on the complexity of the searches and the amount of information

       that must be searched, the time and resources required to complete these tasks varies by task.

       Additionally, CBP requires a license to process data for each case in Clearwell. Each

       license is for 6.1 terabytes (TB) of data. Once 6.1 TB of data has been processed, my team

       either needs to archive or delete a case to free up additional licenses to process additional

       data. Additional licenses can be purchased from a vendor using an unfunded request. The

       cost of any such license would depend on the amount of additional data CBP needed to

       process and thus purchase from the vendor.

  Open Cases


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  9.   Currently, the eDiscovery Team has 104 open cases in various stages of production and

       review. These cases are based on civil litigation requests, trade issues, congressional fact

       finding, criminal cases, and Freedom of Information Act (FOIA) requests. Those requests

       come from the Office of Chief Counsel, the Office of Professional Responsibility, the CBP

       FOIA Office, the Department of Homeland-Office of Inspector General, the SOC (Security

       Operations Center), and Managerial Administrative requests. This figure does not include

       the requests from OIT’s Technology Service Desk for individual email message restores, nor

       does this figure include requests sent to eDiscovery from the CBP Email Services team, the

       Office 365 Project team, or one of our customers asking for additional data their previously

       completed request. Data pulls range from a single search to searches on 30 or more

       custodians with or without key words or Enterprise Searches (searching all 75,000 CBP

       mailboxes) using multiple key words. There is no way to know how much data will be

       included in each case until that case is pulled. Search time frames have been as short as 1

       day to as long as 11 years. Based on the scope of each request, there can be different types

       of searches which could include not only email messages, but internet data pulls,

       logon/logoff information, data collection from servers to include miscellaneous data from

       shared drives, home drives and individual hard drives, which in the case of Border Patrol,

       Air and Marine or the Office of Field Operations, could be in the hundreds, as these offices

       log into multiple computers on a daily basis and move between different locations as their

       duties require.

  10. Additionally, because of the government shut down from December 22, 2018 through

       January 25, 2019, work on many of these open cases has been significantly delayed.

       Specifically, for any cases that were pending at the time of the shutdown, the team is twelve



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      weeks behind schedule. Thus, my team has had to reprioritize some of these cases, and must

      ensure that we do not miss any deadlines as a result of this delay. Additionally, the server

      on which Discovery Accelerator runs can only support 7 to 10 search sessions at one time.

      CBP shares these search sessions with other DHS components, and has been allotted 5 of the

      available search sessions.

  Specific Work in Al Otro Lado

  11. Currently, in Al Otro Lado, my team has collected all email messages from six custodians

      from January 1, 2016 through March 13, 2019. This search collected 660,253 emails

      (1,443,523 items), which amounted to 626.85 GIGs. All of these searches were uploaded to

      Clearwell for the application of additional search strings. Due to the volume of the searches,

      the server used to upload these searches onto Clearwell is now almost out of space.

  12. Following the application of Defendants’ initial proposed search terms (which I understand

      have been provided to Plaintiffs), there are 75,085 documents and 253,565 items ready for

      review. All of these documents are stored on the server, and thus take up a significant

      amount of space.

  13. Additionally, my team is currently collecting the emails from an additional four custodians

      in both Discovery Accelerator and the Office 365 server. My team collected 722, 537

      messages from these additional four custodians, which amounts to 224 GIGs of data. Due to

      the space constraints on the Clearwell server, it will not be feasible to upload these searches

      into Clearwell without removing other cases. Because we have so many open cases, and

      because all of these cases are time-sensitive, it is very difficult to find space on the server.

      While we have submitted funding requests to obtain more space, the funding requests have

      not been approved. Until we receive this additional space, my team must manually assess

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          Defendants’
           Exhibit 6
               Declaration of Randy Howe
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